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                                                                                           FILED
                           UNITED        STATES    DISTRICT       COURT
                           EASTERN DISTRICT            OF VIRGINIA
                                  Newport News Division
                                                                                         APR 18 2014

CHANEL ELEASE FAISON,                                                              CLERK, US DiSTHiCT COURT
                                                                                          NORFOLK, VA

                       Petitioner,

        v.                                                CIVIL    ACTION NO.          4:13cv93
                                                  [ORIGINAL CRIMINAL NO.               4:12cr4-2]

UNITED STATES OF AMERICA,


                       Respondent.

                       MEMORANDUM         OPINION AND        FINAL ORDER


        This matter comes before                 the   court on the            Petitioner's pro

se1   Motion       under     28    U.S.C.       § 2255       to   Vacate,       Set     Aside,     or

Correct Sentence ("Motion"), filed on June 20, 2013.2

                                   I.    PROCEDURAL     HISTORY


        In    a    Memorandum          Order    entered      March    24,      2014,    the   court

denied the Petitioner's                 Motion    on   all    claims      except Ground One,

which        alleges       that         the     Petitioner           received          ineffective

assistance of counsel when her attorney,                          Tyrone Johnson,          did not

appeal       her   sentence,       despite       her   request       to   do    so.    Because     an

attorney's         failure        to     file    an    appeal,       despite      waiver      by     a


   Because  the  Petitioner  is  proceeding pro se,    the court
liberally construes the pleadings. See Gordon v. Leeke, 574 F.2d
1147,    1151      (4th Cir.      1978) .

  The court accepts the Motion as effectively filed on the date
the Petitioner certifies she placed it in the prison's internal
mailing system,         which is June 20, 2013. See Houston v. Lack,                               487
U.S. 266 (1988)         (articulating the "prison mailbox rule").
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defendant,            may     nevertheless           be     ineffective           assistance              of

counsel,         United       States      v.     Poindexter,       492    F.3d     263    (4th       Cir.

2007),      the       court granted the            Petitioner         thirty days        to    develop

the factual basis for her claim. See Mem. Order at 15.3 The court

advised      the       Petitioner          that     she    could        sustain    the        claim       by

filing      "a    sworn       statement,         under    penalty        of    perjury,       that        she

specifically            and    unequivocally             asked    Mr.     Johnson        to        file     a

notice      of    appeal,         and    describe     the       facts    and    circumstances              of

such     request."          Id.     On    April 14, 2014,          the        Petitioner       filed        a

timely      response          to    the        Memorandum       Order,        including        a     sworn

statement. The final claim is now ripe for review.




J It   is   not       clear    from the         Petitioner's       Motion       and Memorandum             in
Support that she unequivocally instructed Mr. Johnson to file a
timely notice of appeal. In her original Motion, the Petitioner
asserts that "[p]rior to sentencing Petitioner requested trial
counsel   to  make  formal  objections   during    the   sentencing
proceeding, and to file a notice of appeal." Mot. at 5. At that
stage in the proceedings, there was no judgment, and so there
was nothing to appeal. See, e.g., Flanagan v. United States, 465
U.S. 259, 263 (1984) (citing Berman v. United States, 302 U.S.
211, 212 (1937)) ("In a criminal case the [final judgment] rule
prohibits appellate review until conviction and imposition of
sentence."). Moreover, in her Memorandum in Support she asserts
that   "following  her  sentencing  hearing,    she    advised  her
[attorney] to make objection to the presentencing report and to
file a notice of appeal if such was needed," though she goes on
to   write, without further elaboration, that she "moved counsel
to    file a notice of appeal." Mem.    in Supp. at 5 (emphasis
added) .         It    is     not        clear     from     these        assertions        when           the
Petitioner requested                     the    filing     of    an     appeal     following              her
sentencing.
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                                                 II.       ANALYSIS


             A. The Petitioner Did Not Request a Timely Appeal

        The          Petitioner           argues       as     Ground    One        that         she    received

ineffective            assistance           of       counsel       because     she        allegedly       asked

Mr.    Johnson to                file a notice of             appeal,        and he       did not        do    so.

Mot.    at       5. Her          filings were           not    clear as       to    when        she made       the

request          of        her    attorney           and     whether     it    was         an     unequivocal

request.4

        "[A]n              attorney             renders           constitutionally                ineffective

assistance             of        counsel        if     he     fails    to     follow            his    client's


unequivocal            instruction              to    file    a    timely notice           of    appeal       even

though the defendant may have waived his right to challenge his

conviction and sentence in the                               plea agreement." Poindexter,                      492

F.3d     at          265     (emphasis           added).          Although     Poindexter             does     not

require          a    petitioner           to        demonstrate       that    an        appeal        would    be

meritorious,               id.    at     269,    or even advisable,                id.    at    273,    it does

place        a       burden         on     her        to     demonstrate           that        she     provided

unequivocal instructions to her counsel to file a timely notice

of appeal. See id. at 265,                           273.

        In general,                in    criminal          sentencings       like        the    one at       issue

here,    a       notice           of    appeal        must    be    filed     within           fourteen       days

after entry of                   judgment.       Fed.       R. App.    P.     4(b) (1) (A).           The court



4 See supra note 3
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may extend the time to file a notice of appeal by no more than

thirty days if,          within thirty days after the time to file the

notice of appeal has expired,                           the court       finds excusable neglect

or good cause. Fed R. App. P. 4(b)(4).

        In her sworn response to the court's Memorandum Order,                                             the

Petitioner         attaches        a    letter          dated        October 5,       2012,      which     she

alleges she sent to her attorney,                               and which indicates that                   she

is "interested in filing a direct appeal," but has been unable

to "properly request this" due to his "lack of communication."

Resp.      to   Mem.    Order          at    3.    She     also       attaches        a   letter      to   the

court      dated    November 19,              2012,       in    which     she       mentions      that     her

mother      tried      several          times       to     contact       her       attorney,       with     no

response from him. Resp.                     to Mem. Order at 4.

        The judgment the Petitioner wished to appeal was entered on

July 5, 2012.          Any    notice          of        appeal       filed    after       July 19, 2012,

would have been untimely.                         See    Fed.    R.    App.     P.    4(b)(1)(A).          Even

if   the    court      had    found          excusable          neglect       or     other     good   cause,

which it did not,            it could not have extended the deadline beyond

August 19, 2012.             See       Fed    R.    App.        P.    4(b)(4).        The      Petitioner's

letter to        her    attorney            was     well       after    the        time   to    appeal      had

expired.        Consequently,           the Petitioner's letter cannot constitute

an "unequivocal instruction to file a timely notice of appeal."

Poindexter,        492 F.3d at 265.
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                B.    Absence of Consultation Warrants No Relief


        The     court        also       considers            whether            the     Petitioner           has


articulated a             viable claim that Mr.               Johnson rendered ineffective

assistance of counsel by failing to consult with the Petitioner

after the sentencing hearing.                     The court once again construes the

Petitioner's assorted pleadings liberally.5

        To prevail on a claim of ineffective assistance of counsel,

a    petitioner           must   show      both       that        counsel's           performance          "fell

below     an    objective           standard      of        reasonableness,"              and    that        the

petitioner was              thereby prejudiced,               meaning that               in    the    absence

of     such     deficient        performance,              "the     result        of     the    proceeding

would    have        been    different."          Strickland             v.     Washington,          466 U.S.

668,     688,     694       (1984).       The    first       prong        of     Strickland          requires

counsel       to consult         with     the   client       about        the    decision       to    file    an


appeal "when there is reason to think either (1)                                        that a rational

defendant        would want          to    appeal          (for    example,           because    there       are

nonfrivolous              grounds    for    appeal),          or        (2)    that     this    particular

defendant            reasonably         demonstrated               to         counsel     that        he     was

interested           in    appealing."          Roe    v.    Flores-Ortega,              528     U.S.       470,

480     (2000).       Reviewing         courts        must    examine           the     totality      of     the

circumstances;             attorneys       have       no    per     se        constitutional          duty    to


5 See supra note 1.
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consult      with        defendants        about        appeals.           Id.;    see        also    United

States v. Cooper,            617 F.3d 307,             312       (4th Cir.    2010).

       As     discussed           supra     Part       II.A.,        the     Petitioner             did     not

"reasonably demonstrate[]                   to    counsel          that     [she]       was    interested

in    appealing,"          so     the     second       basis        for     relief       under       Flores-

Ortega      does     not     apply       here.        See    528    U.S.      at    480.       The    court,

therefore,         analyzes        the     first       basis        to     determine          whether       Mr.

Johnson was         required to conduct                 follow-up consultation with the

Petitioner.


       The     Fourth        Circuit       has        endorsed        a    multi-factor              test       to


"determin[e]         whether        a    rational        defendant          would       have    wanted          to

appeal." Cooper,             617 F.3d at 313. In addition to the presence or

absence      of     nonfrivolous          grounds           for    appeal,        see    Flores-Ortega,

528    U.S.         at     480,         relevant        factors           include        "whether           the

defendant's          conviction           followed           a     trial     or     a        guilty       plea;

whether       the    defendant           received           the    sentence        bargained          for       as

part    of    the        plea;    and     whether       the       plea     expressly          reserved          or

waived       some    or     all     appeal        rights."          Cooper,        617       F.3d     at    313

(citing Flores-Ortega,                  528 U.S.       at 480).

       The     fact        that    the     Petitioner             pled     guilty       pursuant           to    a

freely negotiated plea agreement weighs                                   heavily against             relief.

See Flores-Ortega,                528 U.S.       at    480       ("Although not determinative,

a    highly    relevant           factor     in       this       inquiry     will       be    whether       the
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conviction         follows          a    trial     or    a   guilty            plea . . . because           a

guilty       plea        reduces          the      scope        of     potentially               appealable

issues . . . .").              Moreover,          the    Petitioner             v/aived her       right    to

appeal      any    sentence             within    the    statutory             maximum      in    Paragraph

Six   of     the    Plea       Agreement,          so    that        factor       tilts      against      the

Petitioner as well. See ECF No. 31.6

        Additionally,              the Petitioner received a favorable sentence,

under       the    circumstances.                The    Guidelines             range     was      initially

calculated         as     141       to     155    months.        At        sentencing,           the    court

recalculated            the    Guidelines          range     as       121        to   130    months,      and

sentenced         the    Petitioner         to     108    months,          a     term   even     less    than

the corrected Guidelines range. The Petitioner cannot claim that

she was denied the benefit of her plea bargain. Cooper,                                            617 F.3d

at 314 (denying relief when the sentence could be described as

"the best possible outcome under the circumstances," where the

petitioner received a sentence at the low end of the Guidelines

range).      Finally,          although          the Petitioner                raised   several issues

in    her    Motion,          as    the    court        noted    in        the    court's        Memorandum

Order,      none of       these          grounds       had merit,          and the court            sees no

apparent grounds for appeal in this case.




6 The Petitioner                also voluntarily waived her right                                to appeal
under       oath        after       full     disclosure              and       review       of    the     plea
agreement during the plea colloquy. ECF No. 30.
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       Taken   together,       these       factors          compel        the       conclusion      that

Mr.    Johnson's     performance        was       not        constitutionally              deficient.

The     Petitioner's          failure        to            show      deficient            performance

independently precludes relief.                   See Strickland,               4 66 U.S.     at 700.

                                    III.     CONCLUSION


       For   the reasons       stated herein,               and     in the Memorandum Order

of    March 24,    2014,      the   Petitioner's                  claim     in      Ground     One    is

DISMISSED,     and     the     Motion        is       DENIED        in     its       entirety.7      The

Petitioner is ADVISED that she may appeal from this                                       Final Order

by forwarding a written notice of appeal,                             within sixty (60) days

of    the date of     entry of        this    Final          Order,       to    the Clerk of         the

United    States      District      Court,            United       States        Courthouse,         2400

West Avenue,       Suite     100,   Newport           News,       Virginia,          23607.   For the

reasons      stated      herein,        and           in     the      Memorandum            Order      of

March 24, 2014,        the    court     declines             to     issue       a    certificate       of

appealability.

       The Clerk is DIRECTED to forward a copy of this Final Order

to    the Petitioner,        to Mr.     Johnson,            and to        the Assistant         United

States Attorney.

       IT IS SO ORDERED.                                                            /s/    ">&?"
                                                                  Rebecca Beach Smith
Apri1 \$ , 2014                                                   United States District Judge
7 The Motion,        files,    and records of the case conclusively show
that   the   Petitioner is entitled to no relief,                               and so no hearing
is required.       See 28 U.S.C.        § 2255(b);                United States v. Baysden,
326 F.2d 629,      631     (4th Cir.    1964).

                                                  8
